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                               UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF COLUMBIA


 STATE OF NEW MEXICO, et al.

                 Plaintiffs,

         v.                                                    Civil Action No. 25-cv-429 (TSC)

 ELON MUSK, et al.

                 Defendants.


                                             ORDER

       The parties filed a proposed briefing schedule for further proceedings in this action. ECF

No. 32. Plaintiffs intend to seek expedited discovery prior to preliminary injunction proceedings

and propose filing a preliminary injunction motion by April 18, 2025. Id. at 1–2. Defendants state

their intention to file a motion to dismiss and oppose expedited discovery. Id. at 2.

       Upon consideration of the parties’ positions, and pursuant to the Court’s power “to secure

the just, speedy, and inexpensive determination of every action and proceeding,” Fed. R. Civ. P.

1, the court will strike a balance between the parties’ proposed schedules. Plaintiffs may file a

motion for expedited discovery, but the Court cautions that the requested discovery must be limited

and narrowly tailored to the preliminary injunction. See Guttenberg v. Emery, 26 F. Supp. 3d 88,

99 (D.D.C. 2014). In the same vein, Defendants may proceed with a motion for dismiss. The

Court will also schedule preliminary injunction briefing.

       It is hereby ORDERED that:

       As to Plaintiffs’ motion for expedited discovery, Plaintiffs shall file their motion for

expedited discovery by February 24, 2025; Defendants shall respond to Plaintiffs’ motion for



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expedited discovery by February 28, 2025; and Plaintiffs shall reply to Defendants’ response by

March 3, 2025.

       As to Defendants’ motion to dismiss, Defendants shall file their motion to dismiss by

March 7, 2025; Plaintiffs shall file their response to Defendants’ motion to dismiss by March 14,

2025; and Defendants shall file their reply to Plaintiffs’ response by March 19, 2025.

       As to Plaintiffs’ motion for a preliminary injunction, Plaintiffs shall file their motion for a

preliminary injunction by April 11, 2025; Defendants shall file their response to Plaintiffs’ motion

for a preliminary injunction by April 18, 2025; and Plaintiffs shall file their reply to Defendants’

response by April 22, 2025.

       SO ORDERED.



Date: February 20, 2025

                                                  Tanya S. Chutkan
                                                  TANYA S. CHUTKAN
                                                  United States District Judge




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